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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA


IOWA MIGRANT MOVEMENT FOR                     )
JUSTICE, JANE DOE, ELIZABETH ROE              )
                                              )
          Plaintiffs,                         )    Case No. 4:24-cv-161
                                              )
          v.                                  )
                                              )
ATTORNEY GENERAL OF IOWA BRENNA               )
BIRD, in her official capacity, POLK COUNTY   )
ATTORNEY KIMBERLY GRAHAM, in her              )
official capacity, CLAYTON COUNTY             )
ATTORNEY ZACH HERRMANN, in his                )
official capacity,                            )
                                              )
         Defendants.                          )


       BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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                                        INTRODUCTION
       Iowa Senate File 2340 1 creates a system in which the state—rather than the federal

government—arrests, detains, imprisons, and deports noncitizens in Iowa who reentered the

United States after a previous removal or exclusion, making no exception for people who

reentered the United States with federal consent. Nor does that law make an exception for people

who later gained lawful immigration status or are in the process of obtaining immigration status.

And the law provides no opportunity to raise humanitarian claims for protection from removal

enshrined in federal immigration law and international conventions.

       If the law takes effect on July 1, 2024, it will sweep aside the extremely detailed

procedures and substantive rights Congress created to govern entry and removal. It will severely

disrupt the federal system’s balance between criminal enforcement, civil removal, and various

forms of relief from removal. It will eliminate the federal Executive’s broad discretion over

immigration policy and disrupt the United States’ sovereign power over foreign relations, most

notably with our southern neighbor.

       The harms of this unconstitutional law will be immense. Plaintiffs Jane Doe and

Elizabeth Roe face arrest, imprisonment, removal, and the trauma of separation from their

families, after waiting years to lawfully reunite with them following removal orders. Vulnerable

noncitizens seeking safety will face removal to persecution or torture without access to the

federally mandated removal process and protections. Communities will endure the arrest,

incarceration and summary removal of loved ones. And Plaintiff Iowa Migrant Movement for

Justice will see its members prosecuted, its programs derailed, and costs accrue in response to

the new and expansive needs of an immigrant community riddled with fear and the threat of


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  2024 Iowa Acts Senate File 2340 (to be codified as new Iowa Code ch. 718C (2024))
(hereinafter “S.F. 2340”). Plaintiffs cite the to-be-codified sections for ease of reference.
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prosecution. S.F. 2340 allows the State to start detaining and removing people immediately once

it goes into effect. The Court should enjoin the statute before that date. Courts in the Fifth Circuit

recently enjoined a law containing materially identical provisions. See United States v. Texas, 97

F.4th 268 (5th Cir. 2024); United States v. Texas, 2024 WL 861526 (W.D. Tex. Feb. 29, 2024).

                                         BACKGROUND
   A. The Federal Government Has Exclusive Authority to Regulate Immigration.
       “The Government of the United States has broad, undoubted power over the subject of

immigration and the status of aliens.” Arizona v. United States, 567 U.S. 387, 394 (2012). In the

Immigration and Nationality Act (“INA”), Congress created a complex system to regulate entry

into, authorization to remain in, and removal from the United States. See generally, 8 U.S.C. §§

1101, 1151–1382.

       That scheme balances a range of policy goals, including discouraging irregular reentry

after removal, offering pathways to return and reunite with family and community following a

removal order, and providing for humanitarian and other protections despite prior immigration

violations. To do so, Congress granted federal officers a range of tools to regulate immigration,

including civil immigration procedures and criminal charges.

       Congress has specified categories of noncitizens who may be denied admission to the

United States, see id. § 1182, including those who have previously been removed, see id. §

1182(a)(9)(A), (C). Congress barred noncitizens from seeking admission for a period of five, ten,

or twenty years (depending on the type of removal order) following removal, but also provided a

mechanism to seek consent to return even during the period of inadmissibility. See id. §

1182(a)(9)(A); 8 C.F.R. § 212.2. Those who receive consent or seek admission after waiting the

specified period may reenter via a host of immigrant and nonimmigrant visas and other lawful

pathways. See, e.g., 8 U.S.C. § 1153, 1157.

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       Unlawful reentry into the country after removal is a federal offense, which includes an

exception for those who return with the consent of federal immigration authorities. Id. § 1326.

This offense is prosecuted in federal court at the discretion of federal officials, subject to rules

and exceptions specified by Congress. Id. § 1326(a)(2)(A)-(B), (d). People convicted of federal

reentry may still be eligible for immigration relief. See, e.g., Lopez-Chavez v. Garland, 991 F.3d

960, 962, 965 & n.4 (8th Cir. 2020) (holding that conviction for § 1326 did not render

previously-deported noncitizen statutorily ineligible for cancellation of removal).

       To decide whether a person who reentered unlawfully or attempted to reenter will be

removed, Congress has established several alternative removal procedures, including

reinstatement of a removal order, 8 U.S.C. § 1231(a)(5), 8 C.F.R. § 241.8; expedited removal

proceedings, a shortened form of proceedings applicable to recent arrivals, 8 U.S.C. §

1225(b)(1); and full trial-like removal proceedings subject to administrative and judicial appeals,

id. § 1229a. Previously-removed noncitizens who are seeking immigration relief in removal

proceedings have federal permission to remain in the country while their immigration

proceedings are ongoing. See Villas at Parkside Partners v. City of Farmers Branch, Tex., 726

F.3d 524, 530 (5th Cir. 2013) (plurality opinion) (federal law “contemplates a non-citizen’s

residence in the United States until potential deportation”). Congress also extensively regulated

where a noncitizen ordered removed may be sent. 8 U.S.C. § 1231(b). And Congress created

multiple mechanisms that allow noncitizens to rescind old orders of removal. Id. §

1229a(b)(5)(C), (c)(6), (7).

       Even for those who reenter unlawfully, Congress enacted a range of protections that may

be pursued affirmatively or in removal proceedings. Noncitizens in reinstatement proceedings

may seek withholding of removal protection, because Congress barred federal officials from



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removing people to likely persecution or torture, in compliance with the United States’

obligations under international treaties. See id. § 1231(b)(3); Foreign Relations Authorization

Act, Fiscal Years 1998 and 1999, Pub. L. No. 105-277, § 2242, 112 Stat. 2681, 2681-822 (1998)

(codified as Note to 8 U.S.C. § 1231); see also 8 C.F.R. §§ 208.31, 241.8(e). Except for people

whose removal orders are reinstated, asylum remains available to those who are eligible,

regardless of any prior removal order, and can be pursued through multiple mechanisms. 8

U.S.C. §§ 1225(b)(1)(B), 1158(d); 8 C.F.R.§ 208.2. In addition, individuals with a prior removal

order who are placed in full removal proceedings may apply for other forms of relief Congress

has extended, including cancellation of removal. 8 U.S.C. § 1229b(b). Noncitizens who have

reentered following a removal order may also apply affirmatively for numerous other forms of

relief, including visas for victims of crimes and trafficking, id. § 1101(a)(15)(T), (U), temporary

protected status, id. § 1254a(a), and Special Immigrant Juvenile Status for noncitizens under 21

years of age, id. § 1101(a)(27)(J). See, e.g., 8 C.F.R. § 214.11(d)(9)(i) (prior orders of removal,

deportation or exclusion are “cancelled” upon approval of T visas); 8 C.F.R. § 214.14(c)(5)(i)

(same for U visas).

       Given the complexities of the immigration system, federal discretion and control is vital.

“A principal feature of the removal system is the broad discretion exercised by immigration

officials.” Arizona, 567 U.S. at 396. Federal officials “decide whether it makes sense to pursue

removal at all.” Id. Federal officials choose among the several removal processes Congress

established. See Biden v. Texas, 597 U.S. 785, 791-92 (2022); Matter of E-R-M- & L-R-M-, 25 I.

& N. Dec. 520, 522 (BIA 2011). Federal officials decide whether to deploy the associated

criminal immigration charges. See Texas, 97 F.4th at 281. And once removal procedures have




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been initiated, federal officials decide whether to extend relief to otherwise removable

noncitizens. See, e.g., INS v. Yueh-Shaio Yang, 519 U.S. 26, 30 (1996).

    B. Iowa’s S.F. 2340 Attempts to Regulate Reentry and Removal.
       S.F. 2340 is a blatant attempt to supersede this complex federal system. 2 It establishes

two new state crimes that regulate reentry following exclusion, deportation, or removal and

direct state officers to effectuate deportations without any room for federal discretion or

opportunity to seek protection from removal.

       The challenged law creates a new State Illegal Reentry offense, which makes it a crime

for a noncitizen to enter, attempt to enter, or be found in Iowa if the person has been denied

admission, excluded, deported, or removed from the United States or departed from the United

States with an outstanding order of exclusion, deportation, or removal. Iowa Code § 718C.2(1).

Unlike the federal reentry crime, it is no defense to this state charge that the person returned with

consent of immigration authorities or has subsequently gained lawful immigration status. Id.

       S.F. 2340 also creates a mechanism for the State of Iowa to unilaterally deport individuals

from the United States. If a person is convicted of the new State Illegal Reentry crime, the state

judge must enter an Order to Return, which requires the defendant “to return to the foreign nation

from which the person entered.” Id. § 718C.4(4). The order must specify how the person will be

transported to a port of entry and which Iowa law enforcement agency is responsible for

monitoring compliance. Id. § 718C.4(5). A state judge may alternatively enter an Order to Return

at the beginning of a case if certain conditions are met. Id. § 718C.4(1)-(3). Refusal to comply

with an Order to Return is a state crime punishable by up to 10 years in prison; there are no


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 See, e.g., Press Release: Gov. Reynolds Signs Several Bills into Law (Apr. 10 2024),
https://governor.iowa.gov/press-release/2024-04-10/gov-reynolds-signs-several-bills-law (“This
bill gives Iowa law enforcement the power to do what [President Biden] is unwilling to do:
enforce immigration laws already on the books.”).
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affirmative defenses. Id. §§ 718C.5, 902.9(1)(d). In addition to state deportation, S.F. 2340

provides that an “Order to Return” is a predicate deportation for the State’s reentry crime. Id.

§ 718C.2(3).

       S.F. 2340 specifically prohibits state authorities from abating prosecution for either

offense on the basis that a “federal determination regarding the immigration status of the person

is pending or will be initiated.” Id. § 718C.6.

       The challenged law thus instructs state law enforcement officers to engage in

immigration enforcement even though they have not been trained in federal immigration law and

do not have access to federal immigration databases and are therefore not equipped to determine

the circumstances under which a noncitizen might have left the United States in the past or the

details of their current immigration status. Ex. D, Tupper Decl. ¶ 11. S.F. 2340 thus allows Iowa

officials to arrest, imprison, and remove “immigrants that federal authorities do not believe

should be removed.” Id. ¶ 12.

                                    STANDARD OF REVIEW
       A preliminary injunction should be issued where Plaintiffs can demonstrate (1) a

likelihood of success on the merits; (2) a threat of irreparable harm absent the injunction; (3) that

the threatened injury outweighs any harm that may result from an injunction to the non-movant;

and (4) that the injunction will not undermine the public interest. See Dataphase Sys., Inc. v. C L

Sys., Inc., 640 F.2d 109, 114 (8th Cir. 1981) (en banc).

                                           ARGUMENT

   I. S.F. 2340 is Preempted by Federal Law.

       S.F. 2340 creates a state system to determine which noncitizens may lawfully reenter and

reside in the United States and a process for their removal—quintessentially exclusive federal

powers. S.F. 2340 also conflicts with federal law in numerous ways, by eliminating federal

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immigration relief, federal discretion, and federal control over immigration classifications and

foreign policy. The Fifth Circuit recently held that a state law containing materially identical

provisions was likely both field and conflict preempted. See Texas, 97 F.4th at 288, 295.

   A. S.F. 2340 Intrudes on the Exclusively Federal Field of Entry and Removal.

       Through S.F. 2340, Iowa has established a brand new state immigration system that

entirely bypasses Congress’s comprehensive scheme. Iowa has enacted its own law that applies

new regulations and criminal penalties for reentry into the United States. And Iowa has claimed

the power to deport noncitizens by ordering them to depart the United States on pain of severe

additional punishment, and dictated what removal procedures will apply. But immigration is an

exclusively federal power, and Congress has long occupied the field of reentry and removal.

Therefore, S.F. 2340 is clearly field preempted.

       Courts may infer field preemption from either a “federal interest . . . so dominant that the

federal system will be assumed to preclude enforcement of state laws on the same subject,” or “a

framework of regulation ‘so pervasive . . . that Congress left no room for the States to

supplement it.’” Arizona, 567 U.S. at 399 (quoting Rice v. Santa Fe Elevator Corp., 331 U.S.

218, 230 (1947)).

       The power to “exclude” and “expel” noncitizens is “an inherent and inalienable right of

every sovereign and independent nation.” Fong Yue Ting v. United States, 149 U.S. 698, 711

(1893). As such, for 150 years—ever since Congress began systematically regulating

immigration—the Supreme Court has been crystal clear: the regulation of entry into and removal

from the United States are exclusively federal matters from which the States are excluded. See,

e.g., Chy Lung v. Freeman, 92 U.S. 275, 280 (1875) (“The passage of laws which concern the

admission of citizens and subjects of foreign nations to our shores belongs to Congress, and not



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to the States.”); Truax v. Raich, 239 U.S. 33, 42 (1915) (“The authority to control immigration—

to admit or exclude aliens—is vested solely in the Federal government.”); Hines v. Davidowitz,

312 U.S. 52, 62 & n.10 (1941) (noting the “continuous recognition by [the Supreme] Court” of

“the supremacy of the national power . . . over immigration . . . and deportation”); Takahashi v.

Fish & Game Comm’n, 334 U.S. 410, 419 (1948) (“The Federal Government has broad

constitutional powers in determining what aliens shall be admitted to the United States [and] the

period they may remain,” and “the states are granted no such powers”); De Canas v. Bica, 424

U.S. 351, 354 (1976) (“Power to regulate immigration is unquestionably exclusively a federal

power.”); Arizona, 567 U.S. at 409 (“the removal process is entrusted to the discretion of the

Federal Government”). 3

       In light of this unbroken line of precedent, the Eighth Circuit has likewise recognized that

the regulation of who can enter the country and who should be removed are exclusively federal

matters. See Keller v. City of Fremont, 719 F.3d 931, 940 (8th Cir. 2013) (noting that

immigration regulation is “unquestionably” an “exclusively [] federal power”) (quoting De

Canas, 424 U.S. at 354). 4 Other federal courts are in accord. See, e.g., Texas v. United States, 50

F.4th 498, 516 (5th Cir. 2022) (because “[p]olicies pertaining to the entry of aliens and their right

to remain here are entrusted exclusively to Congress[,] [a]n attempt by Texas to establish an




3
  The federal government’s exclusive authority derives from multiple constitutional sources,
including its “power to establish a uniform Rule of Naturalization, its power to regulate
Commerce with foreign Nations, and its broad authority over foreign affairs,” Toll v. Moreno,
458 U.S. 1, 10 (1982) (cleaned up, citations omitted); see also Hines, 312 U.S. at 62.
4
  The Eighth Circuit held that the rental provisions at issue in Keller were not field preempted
because they “d[id] not remove aliens from this country (or even the City), nor . . . create a
parallel local process to determine an alien’s removability.” 719 F.3d at 942. The court found that
the challenged provisions therefore “d[id] not regulate immigration generally or conduct in the
‘field’ of alien removal.” Id. Here, S.F. 2340 does just that, regulating both entry and removal.
                                                 8
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alternative classification system . . . would be preempted”) (cleaned up); United States v.

Alabama, 691 F.3d 1269, 1293 (11th Cir. 2012) (“The power to expel aliens has long been

recognized as an exclusively federal power.”).

       Indeed, courts have struck down laws as preempted even when they only indirectly

infringe on the federal government’s power over entry and removal. See, e.g., Truax, 239 U.S. at

42 (state regulation of noncitizens’ “opportunity of earning a livelihood” amounted to an

impermissible regulation of their “entrance and abode”); Alabama, 691 F.3d at 1294-95 (state

law limits on noncitizens’ ability to enter into contracts reflected a preempted “policy of

expulsion”). Here, Iowa has directly criminalized reentry and authorized state deportations.

       Consistent with this dominant federal interest, Congress’s regulation of entry and

removal is “pervasive.” Arizona, 567 U.S. at 399 (internal quotation marks omitted). Through the

INA, Congress has established an exceptionally detailed, complex, and finely reticulated

regulatory framework governing the admission, adjudication of immigration status and benefits,

and removal of noncitizens seeking to reenter and remain in the United States after removal. See,

e.g., 8 U.S.C. §§ 1101, 1182, 1225, 1227, 1229a, 1229b, 1229c, 1231; see also Alabama, 691

F.3d at 1294 (discussing “Congress’s comprehensive statutory framework governing alien

removal”). Congress has specifically provided that the INA’s provisions shall be “the sole and

exclusive procedure” for determining whether a noncitizen “may be admitted to the United

States or, if the [noncitizen] has been so admitted, removed from the United States.” 8 U.S.C. §

1229a(a)(3). To call the immigration statutes—and their implementing regulations and

precedential administrative decisions—comprehensive is an understatement; the immigration

laws have “been described as second only to the Internal Revenue Code in complexity.” Singh v.

Gonzales, 499 F.3d 969, 980 (9th Cir. 2007) (internal quotation omitted). And Congress has



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frequently amended this statutory scheme, including through multiple significant amendments to

the provisions most relevant here. See De La Paz v. Coy, 786 F.3d 367, 377 (5th Cir. 2015)

(collecting legislative history). 5

        In particular, Congress has extensively regulated how and when noncitizens may reenter

and remain in the United States following a removal order, and under what circumstances

criminal reentry charges may be deployed against them—the same issues Iowa is attempting to

regulate through S.F. 2340. As explained above, the federal scheme sets forth when and how a

person who has been previously removed may lawfully return to the United States, creates a

federal crime of illegal reentry, provides a variety of civil removal mechanisms with multiple

layers of review by federal officials for those who return unlawfully, outlines the countries where

a noncitizen may be deported, allows for the reopening of old removal orders, and makes

available numerous forms of relief and pathways to lawful status to people who have been

previously removed. Supra pp. 2-4.

         And Congress has given federal officials “broad discretion” to balance these different

interests and decide whether it makes sense to detain, remove, or prosecute a noncitizen in the

first place. Arizona, 567 U.S. at 396; 8 U.S.C. § 1103(a)(1), (a)(5). This discretion is exclusively

federal because it “implicates not only ‘normal domestic law enforcement priorities’ but also

‘foreign-policy objectives.’” United States v. Texas, 599 U.S. 670, 679 (2023) (quoting Reno v.

American-Arab Anti-Discrimination Comm., 525 U.S. 471, 490-91 (1999)); Arizona, 567 U.S. at

409 (immigration enforcement “touch[es] on foreign relations and must be made with one



5
 See, e.g., Immigration and Nationality Act of 1952, Pub. L. No. 414, 66 Stat. 163 (1952);
Refugee Act of 1980, Pub. L. 96–212, 94 Stat. 102 (1980); Illegal Immigration Reform and
Immigrant Responsibility Act of 1996, Pub. L. 104–208, Div. C, 110 Stat. 3009-546 (1996).
Further changes are proposed in every Congress, and are often a focus of intense national
political debate.
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voice”). S.F. 2340 wipes away this federal discretion, along with sidestepping the federal

removal process and nullifying the many forms of immigration status and relief Congress has

provided. Under S.F. 2340, Iowa may arrest, prosecute, imprison, and remove a person from the

United States before their removal proceedings are complete, and even if federal immigration

authorities have granted them permission to reenter or remain in the United States.

       Through the many intricate and interrelated provisions discussed above, Congress has

established “a full set of standards governing” who may reenter and remain in the United States,

“including the punishment for noncompliance”—a system that is “designed as a ‘harmonious

whole.’” Arizona, 567 U.S. at 401 (quoting Hines, 312 U.S. at 72). As such, “States may not

enter” this field “in any respect,” and “even complementary state regulation is impermissible.”

Id. at 401-02. Probably for that very reason—and because for 150 years the Supreme Court has

reiterated that states lack authority over such matters—no state has successfully seized the

federal government’s prerogatives and set up its own state-law alternative immigration system.

S.F. 2340 is field preempted and should be immediately enjoined.

   B. S.F. 2340 Conflicts with the Federal Immigration System.
       S.F. 2340 is also preempted because it “conflict[s] with federal law.” Arizona, 567 U.S. at

399. Conflict preemption occurs when a state law “stands as an obstacle to the accomplishment

and execution of the full purposes and objectives of Congress.” Id. (quoting Hines, 312 U.S. at

67). Here, S.F. 2340 is an insurmountable obstacle to the fulfillment of multiple of Congress’

intentions, as embodied in the INA.

       First, S.F. 2340 purports to override federal determinations about noncitizens’

immigration status – a quintessential subject of federal control. See Arizona, 567 U.S. at 394

(“[T]he United States has broad, undoubted power over . . . the status of aliens.”). As noted

above, Congress has established various legal statuses that immigration authorities may grant

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noncitizens even if they have prior removal orders. The congressional scheme includes

affirmative benefits available to people whether or not they are in full removal proceedings, see

supra pp. 3-4 (describing asylum, temporary protected status, and special visas for abused,

neglected or abandoned children and victims of crime and trafficking, adjustment of status), and

relief available only to those in removal proceedings, see id. (describing withholding of removal,

protection under the Convention Against Torture, and cancellation of removal); see also Arizona,

567 U.S. at 396. For many of these benefits, old removal orders have no impact on eligibility or

are subject to waivers. See supra pp. 3-4. Under this complicated web of statutes and federal

regulations, many noncitizens with old deportation orders are currently lawfully residing in the

United States and have a statutory right to continue to do so. See, e.g., Lopez-Flores v. DHS, 387

F.3d 773, 775-77 & n.2 (8th Cir. 2004) (granting petition for review by noncitizen who had been

deported, re-entered, and was seeking adjustment of status via discretionary waiver); Matter of

Torres-Garcia, 23 I. & N. Dec. 866, 872 (BIA 2006) (describing process for previously removed

noncitizens to reapply for admission as lawful permanent residents).

       To adjudicate these defenses, Congress designed a detailed administrative system for

making determinations about when noncitizens already in the United States may receive lawful

status and seek relief from removal. In addition to those who have already been granted status,

previously-removed noncitizens who have pending removal proceedings have federal permission

to remain in the country while their cases are ongoing. See Farmers Branch, Tex., 726 F.3d at

530; 8 U.S.C. §§ 1229a(b)(5)(A) (requiring noncitizens to attend their immigration hearings);

1231(a)(1)(A) (contemplating removal only after noncitizen “is ordered removed” in federal

proceedings).




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       But S.F. 2340 bypasses all the defenses to removal created by Congress and requires state

officials to contradict federal law. Under Iowa’s law, individuals with status and those with

pending proceedings can be prosecuted for doing what they are expressly permitted to do under

federal law. Under S.F. 2340, it is not a defense to prosecution or removal that a noncitizen

currently has lawful immigration status that, per Congress’ directives, allows them to remain in

the country. See generally Iowa Code § 718C. Nothing in the law prevents the state from

imposing criminal penalties, including a prison sentence of years, and ordering the removal from

the United States of noncitizens who have been granted legal status, are in pending proceedings,

or may be eligible for relief under the INA, as long as they have a prior qualifying removal and

are subsequently found in Iowa. Id. §§ 718C.2, 718C.4, 718C.6.

       Indeed, S.F. 2340 identifies and doubles down on this conflict, providing that courts “may

not abate the prosecution of an offense under” its criminal provisions “on the basis that a federal

determination regarding the immigration status of the defendant is pending or will be initiated.”

Id. § 718C.6. The result is unilateral state nullification of federal determinations about who can

reenter and remain in the United States. See Takahashi, 334 U.S. at 419 (states “can neither add

to nor take from the conditions lawfully imposed by Congress upon admission, naturalization

and residence of aliens in the United States or the several states”). Because S.F. 2340

“impermissibly remove[s] a class of” noncitizens without any deference to the federal avenues

for granting noncitizens lawful status, Keller, 719 F.3d at 941 (cleaned up), it obstructs Congress’

objective of allowing certain noncitizens, including those with removal orders, to remain in the

United States. See Texas, 97 F.4th at 291.

       Second, Iowa’s new offense frustrates federal interests by subjecting certain noncitizens

to arrest, prosecution and imprisonment even though Congress has explicitly excepted them from



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criminal liability. See Arizona, 567 U.S. at 406 (explaining that where “Congress decided it

would be inappropriate to impose criminal penalties on” certain noncitizens, a “state law to the

contrary is an obstacle to the regulatory system Congress chose”). S.F. 2340’s reentry crime is far

broader than 8 U.S.C. § 1326: a noncitizen is not subject to prosecution under the latter if they

obtained federal “consent” to seek admission to the United States. 8 U.S.C. § 1326(a)(2)(A). So,

for example, a previously-removed noncitizen may request and obtain federal consent to return

to the United States through a number of different avenues, like parole or a family- or

employment-based visa. See, e.g., 8 C.F.R. § 212.2. That person has not committed a crime under

§ 1326(a)(2)(A). But the new Iowa law subjects those same people to criminal penalties, and

thus impermissibly “prohibit[s] conduct expressly permitted by federal law.” Keller, 719 F.3d at

943 (cleaned up). The result is that people who the federal government has affirmatively allowed

to return to the United States and exempted from federal prosecution are nevertheless

criminalized and subject to incarceration and removal by Iowa. This significant “inconsistency”

represents a shocking “intrusion upon the federal scheme.” Arizona, 567 U.S. at 402.

       Third, S.F. 2340 frustrates Congress’ statutory scheme by preventing federal authorities

from exercising discretion over the prosecution, processing, and removal of covered noncitizens.

Congress gave federal immigration officials “broad discretion” as a “principal feature” of the

immigration system. Arizona, 567 U.S. at 396. Federal discretion is critical, because it

“implicates not only normal domestic law enforcement priorities but also foreign-policy

objectives.” Texas, 599 U.S. at 670 (internal quotation omitted). The range of tools available to

immigration authorities – including discretion to bring criminal reentry charges; to place

previously-removed noncitizens in removal proceedings; to afford humanitarian relief; and to

make decisions about where removable noncitizens should actually be sent, see supra pp. 2-4—



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allow the federal government to balance complex and interrelated domestic and international

policies and priorities.

        Discretion allows federal immigration authorities to distinguish between, for example,

noncitizens with “children born in the United States” and “smugglers or [noncitizens] who

commit a serious crime,” while also weighing whether to remove people to countries “mired in

civil war [or] complicit in political persecution.” Arizona, 567 U.S. at 396. These choices

implicate “immediate human concerns” as well as “this Nation’s international relations.” Id.

Under S.F. 2340, federal officials no longer “retain complete discretion to decide whether and

when to pursue removal proceedings.” Keller, 719 F.3d at 944. And from a foreign policy

perspective, Iowa’s law requires removal to one pre-specified country, thereby eliminating

federal authorities’ ability to decide where they will send removable noncitizens. Iowa Code §

718C.4(3), (4). This is a blatant conflict with the detailed rules about which countries someone

may be sent to, which incorporate considerations including a noncitizen’s country of birth, place

of residence, and nationality, as well as the federal government’s relationships with and the

preferences of sovereign nations. 8 U.S.C. § 1231(b); 8 C.F.R. § 241.15; see also Texas, 97 F.4th

at 291 (“Congress has identified the . . . process for selecting the country to which noncitizens

may be removed.”).

        Fourth, S.F. 2340 conflicts with federal law because it squarely inserts Iowa into the

relationship between the United States and Mexico and other foreign countries. Determinations

about how to prosecute immigration crimes and execute removals to other nations “touch on

foreign relations” and “must be made with one voice.” Arizona, 567 U.S. at 409; see id. at 395

(“Immigration policy can affect trade, investment, tourism, and diplomatic relations for the entire

Nation[.] . . . Perceived mistreatment of aliens in the United States may lead to harmful



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reciprocal treatment of American citizens abroad.”). Here, the risk that unilateral state

immigration regulation could “embroil us in disastrous quarrels with other nations” is no longer

theoretical, as Iowa proposes to remove people to countries that are not their countries of

nationality, without the consent of those sovereign states, and in violation of United States’

obligations under international law. Chy Lung, 92 U.S. at 280.

       S.F. 2340 requires state judges to order noncitizens—regardless of nationality—“to return

to the foreign nation from which the person entered,” on penalty of even more severe

punishment. Iowa Code §§ 718C.4, 718C.5. For many would-be defendants, that will be Mexico.

See Texas, 97 F.4th at 291. As the Supreme Court recently observed, even the federal

government “cannot unilaterally return . . . migrants to Mexico” or other foreign sovereigns.

Texas, 597 U.S. at 806. The same is true of Iowa. As the Court explained, the federal

government’s efforts to negotiate such returns with Mexico had “played a particularly outsized

role in diplomatic engagements with Mexico, diverting attention from more productive efforts to

fight transnational criminal and smuggling networks and address the root causes of migration.”

Id. (internal quotation marks omitted). The Court rejected the state’s attempt to “tie the hands of

the Executive” by allowing a court to supervise such foreign policy negotiations. Id. Here, the

interference with federally-directed foreign policy is even more flagrant. Rather than supervising

federal negotiations, S.F. 2340 purports to cut the United States out entirely, as Iowa—not the

federal government—would have to either negotiate with Mexico (and other foreign nations) or

ignore that country’s wishes altogether and violate its sovereignty. See Texas, 97 F.4th at 295-96.

       Finally, S.F. 2340 frustrates Congress’ intent by granting the state authority to make

unilateral decisions regarding a noncitizen’s immigration status. “The federal government alone .

. . has the power to classify non-citizens.” Farmers Branch, Tex., 726 F.3d at 536. Congress



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entrusted the power to initiate and adjudicate removal proceedings to “federal officers who have

received training in the enforcement of immigration law.” Arizona, 567 U.S. at 408; 8 C.F.R. §§

239.1, 1003.1. These trained experts navigate the “labyrinth” of immigration law, Lok v. INS, 548

F.2d 37, 38 (2d Cir. 1977), and ensure consistent application across the nation. The new Iowa law

places state officials in the “impermissible position” of enforcing state law “based on their

immigration status determinations without federal direction and supervision.” Farmers Branch,

Tex., 726 F.3d at 532 (citing Arizona, 567 U.S. at 413).

       S.F. 2340 requires Iowa officials untrained in immigration law, see Ex. D, Tupper Decl. ¶

11, to determine whether noncitizens in Iowa have been “denied admission” or departed “while

an order of exclusion, deportation, or removal is outstanding.” Iowa Code § 718C.2(1). In

contrast to the rental provision at issue in Keller, the new Iowa law impermissibly requires “local

officials to determine whether a [noncitizen] is removable from the United States” and does not

permit them to defer to federal determinations of who may remain. 719 F.3d at 944; see Iowa

Code § 718C.6. This analysis necessitates access to a person’s complete immigration file, often

housed at different federal agencies and potentially going back decades, and it requires the

expertise to identify the legally significant records. See Ex. C, Johnson Decl. ¶ 29; see Matter of

Nolasco-Tofino, 22 I. & N. Dec. 632, 637 (BIA 1999) (Congress replaced exclusion and

deportation proceedings with removal proceedings in 1996). It likewise requires an

understanding of immigration law, including the meaning of “admission,” see Matter of Alyazji,

25 I. & N. Dec. 397, 401 (BIA 2011) (discussing the many meanings of “admission”), and what

constitutes a final order of removal, see 8 C.F.R. § 1241.1. Iowa officials are unequipped to make

these determinations and, without direction from federal authorities, will “impermissibly

interfere with the federal regulation of alien removal.” Keller, 719 F.3d at 944–45.



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 II.    Plaintiffs Will Suffer Irreparable Injury Without an Injunction.
        Absent an injunction, beginning July 1, Plaintiffs Jane Doe and Elizabeth Roe and Iowa

MMJ members will suffer irreparable harm by being placed at immediate risk of arrest,

prosecution, detention, and removal under a state statute that is preempted by federal law. Ms.

Doe and Ms. Roe are both lawful permanent residents: Ms. Doe, a widow, lives in Iowa with her

daughters and 17 U.S. citizen grandchildren and Ms. Roe lives with her U.S. citizen husband,

close to her U.S. citizen brothers. Ex. A, Doe Decl. ¶¶ 2, 4, 16; Ex. B, Roe Decl. ¶¶ 2, 14-15.

Both waited many years to return to the United States lawfully after being deported and now face

being separated again from their families. Ex. A, Doe Decl. ¶¶ 11-15, 17; Ex. B, Roe Decl. ¶¶ 9-

13. In addition, Ms. Doe suffers from diabetes and hypertension, and the stress of arrest,

prosecution, imprisonment and removal would put her health further at risk. Ex. A, Doe Decl. ¶¶

18-19. Iowa MMJ member “Anna” is an 18-year-old high school student who has been granted

asylum after being ordered deported and returning to the United States as a child. Ex. C, Johnson

Decl. ¶ 20. If prosecuted under S.F. 2340, Anna would endure the trauma of being separated

from her family, be unable to graduate from her high school, risk losing the opportunity to pursue

her chosen career path, and face removal to Mexico, where she has no family. Id. ¶¶ 20-21. Iowa

MMJ member “David” also faces state prosecution and separation from his family, including his

U.S. citizen sister whom he supports, and the country that has been his home since he was a

child. Id. ¶ 22. Each threatened injury, standing alone, would warrant a finding of irreparable

harm. See Heartland Acad. Cmty. Church v. Waddle, 335 F.3d 684, 690 (8th Cir. 2003)

(upholding finding of irreparable harm based on the risk of “trauma to already troubled

children”); Doe v. Miller, 216 F.R.D. 462, 470–71 (S.D. Iowa 2003) (finding irreparable harm

based on “an immediate or imminent threat of criminal prosecution”); Matacua v. Frank, 308 F.

Supp. 3d 1019, 1025 (D. Minn. 2018) (holding “a loss of liberty . . . is perhaps the best example

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of irreparable harm”); Heather K. v. City of Mallard, Iowa, 887 F. Supp. 1249, 1260 (N.D. Iowa

1995) (threat to health is irreparable harm). Together they indisputably support an injunction.

        If S.F. 2340 is allowed to go into effect, Plaintiff Iowa MMJ will be forced to divert

significant resources to counteract the harms caused by the law, undermining its ability to pursue

core programs central to its mission. Iowa MMJ legal services staff will need to screen

prospective and existing clients for possible prosecution under S.F. 2340, adapt their immigration

practice to represent clients facing prosecution under S.F. 2340, and assist clients who are

prosecuted under the law, taking staff away from providing their existing, core immigration legal

services and threatening their grant funding. Ex. C, Johnson Decl. ¶¶ 25-35. Iowa MMJ will also

be unable to serve immigrants who would otherwise be eligible for immigration relief based on

their status as victims of crime, because they will be afraid to report crimes to local law

enforcement. Id. ¶ 34. Likewise, Iowa MMJ’s advocacy team has already spent, and will

continue to spend, significant time educating the community regarding S.F. 2340 and sharing

Know Your Rights information, so that they are unable to meet their existing metrics for

grassroots community outreach. Id. ¶¶ 38-41, 44-45. Moreover, S.F. 2340 threatens Iowa MMJ’s

ongoing advocacy issue campaigns. Id. ¶¶ 42-43. This harm is irreparable. See Heartland Acad.

Cmty. Church, 335 F.3d at 690 (upholding finding of irreparable harm based on “the threat to [an

institutional plaintiff] and its mission”); League of Women Voters of Mo. v. Ashcroft, 336 F. Supp.

3d 998, 1005 (W.D. Mo. 2018) (finding irreparable harm where “non-profit organizations . . .

diverted resources from other activities crucial to their missions in order to address” the harm).

III.    The Balance of the Equities and the Public Interest Weigh in Favor of an Injunction.
        The balance of equities tips decisively in favor of the Plaintiffs and an injunction is

strongly in the public interest. When the Defendants are governmental actors, the third and fourth

factors merge and are properly considered together. Nken v. Holder, 556 U.S. 418, 435 (2009).

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        First, the State has no interest in enforcing an unconstitutional law. Rodgers v. Bryant,

942 F.3d 451, 458 (8th Cir. 2019) (finding an injunction appropriate when the challenged statute

was plainly unconstitutional). S.F. 2340 intrudes on the federal government’s entry and removal

authority, and contradicts federal law in a host of ways. The State has no legitimate interest in

enforcing laws that are preempted under the Supremacy Clause. See Bank One, Utah v. Guttau,

190 F.3d 844, 847–48 (8th Cir. 1999) (plaintiff who showed preemption and irreparable harm

was entitled to injunction, because “the public interest will perforce be served by enjoining the

enforcement of the invalid provisions of state law”).

        Second, S.F. 2340 harms the public interest by requiring the removal of even those

noncitizens who have federal permission to remain in the country, and without regard for federal

humanitarian protections. See supra 11-17 (laying out these conflicts with federal law). The

“[f]rustration of federal statutes and prerogatives [is] not in the public interest.” Alabama, 691

F.3d at 1301. And “there is a public interest in preventing aliens from being wrongfully

removed, particularly to countries where they are likely to face substantial harm.” Nken, 556

U.S. at 436. Moreover, S.F. 2340 harms the public interest by eroding immigrant community

trust in local law enforcement, so that crimes will go unreported and unprosecuted, victims will

be prevented from seeking protection, and survivors will be denied access to federal immigration

benefits to which they are entitled. Ex. D, Tupper Decl. ¶¶ 14-16; Ex. C, Johnson Decl. ¶¶ 34,

42; Ex. E, Corona Decl. ¶¶ 35-46; Ex. F, Meyer Decl. ¶¶ 7, 10. Enjoining those harms is plainly

in the public interest.

                                         CONCLUSION
        For the foregoing reasons, the Court should issue a preliminary injunction.




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DATED: May 10, 2024            Respectfully submitted,

                               /s/ Emma Winger
                               Emma Winger*
                               Katherine Melloy Goettel**
                               Michelle Lapointe*
                               Suchita Mathur**
                               Gianna Borroto***
                               AMERICAN IMMIGRATION COUNCIL
                               1331 G St. NW, Suite 200
                               Washington, DC 20005
                               Phone: (202) 507-7512
                               ewinger@immcouncil.org;
                               kgoettel@immcouncil.org
                               mlapointe@immcouncil.org
                               smathur@immcouncil.org
                               gborroto@immcouncil.org

                               Rita Bettis Austen, AT0011558
                               Shefali Aurora, AT0012874
                               Thomas Story, AT0013130
                               ACLU of Iowa Foundation Inc.
                               505 Fifth Avenue, Ste. 808
                               Des Moines, IA 50309-2317
                               Phone: (515) 243-3988
                               Fax: (515) 243-8506
                               rita.bettis@aclu-ia.org
                               shefali.aurora@aclu-ia.org
                               Tomas.story@aclu-ia.org

                               Spencer Amdur***
                               Cody Wofsy***
                               AMERICAN CIVIL LIBERTIES UNION
                               FOUNDATION
                               39 Drumm Street
                               San Francisco, CA 94111
                               T: (415) 343-0770
                               F: (415) 395-0950
                               samdur@aclu.org
                               cwofsy@aclu.org

                               Anand Balakrishnan***
                               Wafa Junaid***
                               Noor Zafar***
                               Omar Jadwat***


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                            AMERICAN CIVIL LIBERTIES UNION
                            FOUNDATION
                            125 Broad St., 18th Floor
                            New York, NY 10004
                            T: (212) 549-2660
                            F: (212) 549-2654
                            abalakrishnan@aclu.org
                            wjunaid@aclu.org
                            nzafar@aclu.org
                            ojadwat@aclu.org

                            For Plaintiffs Iowa Migrant Movement for Justice,
                            Jane Doe, Elizabeth Roe


                            * Admitted pro hac vice
                            ** Pro hac vice motion pending
                            *** Pro hac vice motion forthcoming




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                                  CERTIFICATE OF SERVICE
I hereby certify that on this date, I electronically filed the foregoing paper and accompanying
exhibits with the Clerk of Court by using the CM/ECF system.
The foregoing paper will also be served along with the Complaint and Summons to all
Defendants.
Date: May 10, 2024
                                                              /s/ Emma Winger
                                                             Emma Winger
                                                             American Immigration Council
                                                             1331 G St. NW, Suite 200
                                                             Washington, DC 20005
                                                             Phone: (202) 507-7512
                                                             ewinger@immcouncil.org




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